        Case 1:17-cv-00225-DCN Document 40 Filed 01/10/19 Page 1 of 1



                    IN THE UNITED STATES DISTRICT COURT

                          IN AND FOR THE DISTRICT OF IDAHO

GUSTAVO CARRERA-GARCIA,                    )
                                           )
             Plaintiff,                    )
                                           )    Case No. 1:17-cv-00225-DCN
      vs.                                  )
                                           )    ORDER OF DISMISSAL
JOHN F. KELLY, Secretary of the            )
Department of Homeland Security (DHS);     )
THOMAS D. HOMAN, Director of U.S.          )
Immigration and Customs Enforcement        )
(ICE) and its Office of Enforcement and    )
Removal Operations (ERO); LAURA            )
MCNEER, ICE/ERO Director, Salt Lake        )
City Field Office; KIERAN DONAHUE,         )
Sheriff of Canyon County; CANYON           )
COUNTY; in their official capacities,      )
                                           )
             Defendants.                   )
                                           )

      THIS MATTER, having come before the Court on the stipulation of the parties

(Dkt. 39) and good cause appearing therefore,

      IT IS HEREBY ORDERED that the above-entitled matter be dismissed, with

prejudice, each party shall bear their own costs and attorney’s fees associated with the

dismissal of the above-named Defendants.

                                                DATED: January 10, 2019


                                                _________________________
                                                David C. Nye
                                                Chief U.S. District Court Judge




ORDER OF DISMISSAL - 1
